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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In Re:
                                                   Case No. 11-bk-33448
      STEVEN LEE SORENSEN,
      TINA L. SORENSEN,
                                                   Chapter 7

                                  Debtor(s)

                                       NOTICE OF MOTION

To:       Keith Anthony Schallenkamp                     Robin M. Eich
          316 North 6th Street                           Eich Law Office, Prof. LLC
          Mankato, MN 56001                              700 N. Vandemark Ave., Suite 108
                                                         Hartford, SD 27033
          Jon E. Paulson
          Paulson Law Firm PLLC
          1434 Appaloosa Trail
          Eagan, MN 55122

        PLEASE TAKE NOTICE that on June 13 2019 at 10:00_a.m., the undersigned will
appear before the Honorable Pamela S. Hollis at the Everett McKinley Dirksen United States
Courthouse, Courtroom No. 644, 219 South Dearborn, Chicago, Illinois 60604, and will then and
there present the attached Debtors’ Motion Pursuant to 11 U.S.C. §§ 524 and 105 for Violations
of the Discharge Injunction and Fed. R. Bankr. P. 9020 Seeking Sanctions for Civil Contempt
Against Keith Anthony Schallenkamp, Paulson Law Firm PLLC and Eich Law Office, Prof.
LLC, at which time you may appear if you so choose.

Dated: May 31, 2019                               /s/ Majdi Y. Hijazin

                                                  Majdi Y. Hijazin, Of Counsel
                                                  SULAIMAN LAW GROUP, LTD.
                                                  2500 South Highland Avenue
                                                  Suite 200
                                                  Lombard, Illinois 60148
                                                  +1 630-575-8181
                                                  mhijazin@hijazinlaw.com

                                                  Counsel for Steven Lee Sorensen and
                                                  Tina L. Sorensen
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                                     Certificate of Service

       I, Majdi Y. Hijazin, hereby certify that on May 31, 2019 I caused a copy of this notice and
attached Debtors’ Motion Pursuant to 11 U.S.C. §§ 524 and 105 for Violations of the
Discharge Injunction and Fed. R. Bankr. P. 9020 Seeking Sanctions for Civil Contempt to be
served, via ECF to the United States Trustee and Chapter 7 Trustee, and via U.S. Certified Mail,
postage prepaid, to:

                                  Keith Anthony Schallenkamp
                                       316 North 6th Street
                                      Mankato, MN 56001

                                        Robin M. Eich
                                  Eich Law Office, Prof. LLC
                               700 N. Vandemark Ave., Suite 108
                                      Hartford, SD 27033

                                         Jon E. Paulson
                                    Paulson Law Firm PLLC
                                     1434 Appaloosa Trail
                                       Eagan, MN 55122

                                                    /s/ Majdi Y. Hijazin

                                                    Majdi Y. Hijazin, Of Counsel
                                                    SULAIMAN LAW GROUP, LTD.
                                                    2500 South Highland Avenue
                                                    Suite 200
                                                    Lombard, Illinois 60148
                                                    +1 630-575-8181
                                                    mhijazin@hijazinlaw.com

                                                    Counsel for Steven Lee Sorensen and
                                                    Tina L. Sorensen




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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 In Re:
                                                          Case No. 11-bk-33448
     STEVEN LEE SORENSEN,
     TINA L. SORENSEN,
                                                          Chapter 7

                                  Debtor(s)



  DEBTORS’ MOTION PURSUANT TO 11 U.S.C. §§ 524 AND 105 FOR VIOLATIONS
    OF THE DISCHARGE INJUNCTION AND FED. R. BANKR. P. 9020 SEEKING
                 SANCTIONS FOR CIVIL CONTEMPT AGAINST
         KEITH A. SCHALLENKAMP, PAULSON LAW FIRM PLLC, AND
                        EICH LAW OFFICE, PROF. LLC
______________________________________________________________________________

          NOW COME Steven Lee Sorensen (“Sorensen”) and Tina L. Sorensen (“Debtors”), by

and through their attorneys, Sulaiman Law Group, Ltd., bringing this Motion Pursuant to 11 U.S.C.

§§ 524 and 105 for Violations of the Discharge Injunction and Fed. R. Bankr. P. 9020 Seeking

Sanctions for Civil Contempt Against Keith A. Schallenkamp (“Schallenkamp”), Paulson Law

Firm PLLC (“Paulson”) and Eich Law Office, Prof. LLC (“Eich”), for Violations of the Discharge

Injunction, and in support thereof, stating as follows:

                                           JURISDICTION

   1. The Court has subject matter jurisdiction over this proceeding pursuant to 11 U.S.C. §§

105, 524, and 28 U.S.C. §§ 157 and 1334. This proceeding arises out of and is related to the above-

captioned Chapter 7 case under Title 11.

   2. This is a core proceeding within the meaning of 28 U.S.C. §§ 157(b)(1) & (2).




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                                                PARTIES

   3. Steven Lee Sorensen and Tina L. Sorensen were debtors under Chapter 7 of Title 11 of the

United States Code in Case Number 11-33448 filed on August 8, 2011, in the Bankruptcy Court

for the Northern District of Illinois, Eastern Division.

   4. Keith A. Schallenkamp (“Schallenkamp”) is over the age of 18 and a resident of Sibley

County, Minnesota with a last known mailing address of 316 North 6th Street, Mankato, Minnesota

56001. Schallenkamp was an unsecured creditor in the Debtors’ Chapter 7 bankruptcy.

   5. Paulson Law Firm PLLC (“Paulson”) is an inactive Limited Liability Company organized

under the laws of the State of Minnesota with its principal office located at 1434 Appaloosa Trail,

Eagan, Minnesota 55122. Jon E. Paulson, owner, is an attorney authorized to practice law in the

State of Minnesota.

   6. Eich Law Office, Prof. LLC (“Eich”) is a Limited Liability Company organized under the

laws of the State of South Dakota with its principal office located at 210 N. Main Avenue, Suite

102, Parker, SD 57053 (mailing address and second location: 700 N. Vandemark Avenue, Suite

108, Hartford, SD 57033). Robin M. Eich, owner, is an attorney authorized to practice law in the

State of South Dakota.

                                          STATEMENT OF FACTS
PREPETITION

   7. On October 14, 2009, Sorensen filed a wrongful termination lawsuit against his former

employer, MF Global, and others (Sorensen v. Greg Arenson, et al., Cook County Circuit Court,

Law Division, Case Number 2009-L-012205).

   8. Prior to the filing of his wrongful termination lawsuit, Schallenkamp called Sorensen

asking about the wrongful termination lawsuit and expressed a desire to loan money to Sorensen

in exchange for a stake in the lawsuit.


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     9. On June 27, 2011, Sorensen’s wrongful termination lawsuit was dismissed with prejudice.

Sorensen filed an appeal on July 27, 2011. During the pendency of the wrongful termination

lawsuit and appeal, Sorensen’s former employer, MF Global, was facing a massive liquidity crisis

which lead to MF Global filing for Chapter 11 bankruptcy protection on October 31, 2011.

     10. Between approximately July 2009 and August 5, 2011, Schallenkamp loaned Debtors

approximately $72,084.00.1

DEBTORS’ CHAPTER 7

     11. On August 16, 2011, Debtors filed their Chapter 7 bankruptcy.

     12. Debtors duly scheduled Schallenkamp as an unsecured creditor for a personal loan (“loan”)

on Schedule F2. See Exhibit A attached hereto, a copy of Debtors’ Schedule F.

     13. Schallenkamp received notice of Debtors’ Chapter 7 filing at his last known address

through a notice produced by the Bankruptcy Noticing Center (“BNC”). See Exhibit B attached

hereto, a true and correct copy of the BNC’s Certificate of Service establishing service upon

Schallenkamp.

     14. Approximately a week or two after the notices were sent to the creditors, Schallenkamp

called Sorensen, furious about being listed in the Debtors’ bankruptcy. Sorensen explained that

Debtors were required to list every person or creditor owed money by the Debtors.



1
  Schallenkamp loaned Debtors post-petition monies totaling $3,020.00 from 09/06/2011 to
01/02/2012, which are not subject to this Motion. From 06/03/2014 to 04/20/2015, Debtors made
payments to Schallenkamp totaling $3,800.00 on the post-petition loan. Based upon a spreadsheet
produced by Schallenkamp in the South Dakota lawsuit, the prepetition loan amount was
$72,084.00.
2
  The Debtors advised their bankruptcy attorney that the amount of the unsecured loan to
Schallenkamp was $66,000.00; however, a clerical error was made by Debtors’ attorney and the
unsecured loan was scheduled as $6,600.00. Debtors brought the error to the attention of their
bankruptcy attorney who advised them it was a clerical error and not an issue in a no-asset
bankruptcy.
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    15. On September 9, 2011, the BNC, at the request of the Chapter 7 Trustee, produced notices

to all creditors setting the time for filing claims.

    16. Schallenkamp did not participate in Debtors’ bankruptcy case.

    17. Debtor’s Chapter 7 was a no-asset bankruptcy and on June 26, 2012, the Chapter 7 Trustee

issued his Report of No Distribution stating:

        “I, Bradley J. Waller, having been appointed trustee of the estate of the above-
        named debtor(s), report that I have neither received any property nor paid any
        money on account of this estates; that I have made a diligent inquiry into the
        financial affairs of the debtor(s) and the location of the property belonging to the
        estate; and that there is no property available for distribution from the estate over
        and above that exempted by law....Assets Abandoned (without deducting any
        secured claims): $201874.57, Assets Exempt: $42800.00, Claims Scheduled:
        $1020314.69, Claims Asserted: Not Applicable, Claims scheduled to be discharged
        without payment (without deducting the value of collateral or debts excepted from
        discharge): $1020314.69.” [Emphasis added.]

    18. On July 31, 2012, Debtors received a discharge of all dischargeable debts pursuant to 11

U.S.C. §727, including the subject loan. See Exhibit C attached hereto, a true and correct copy of

the Discharge of Joint Debtors.

    19. On August 2, 2012, the BNC provided Schallenkamp with notice of Debtors’ Chapter 7

discharge. See Exhibit D attached hereto, a true and correct copy of the BNC Certificate of Service

establishing service of the Discharge Order upon Schallenkamp.

    20. The Discharge Order served upon Schallenkamp expressly stated:

         “[t]he discharge prohibits any attempt to collect from the debtor a debt that has
         been discharged…..a creditor is not permitted to contact a debtor by mail, phone,
         or otherwise.…to collect a discharged debt from the debtor.” Id.

    21. Debtors’ discharge extinguished any liability on the subject loan and precluded any

collection efforts against the Debtors by Schallenkamp.




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POST-DISCHARGE


     22. Notwithstanding Debtors’ discharge, on June 16, 2017, Schallenkamp, by and through his

attorney, Jon E. Paulson, Paulson Law Firm, PLLC, filed a civil lawsuit in District Court, First

Judicial District, County of Sibley, State of Minnesota seeking a judgment for damages against

Debtors in excess of $50,000.00,3 a judgment for fraud against Debtors in excess of $50,000.00,

and attorney fees. Schallenkamp specifically was seeking to collect the $72,084.00 prepetition

loan (the “Minnesota lawsuit”). See Exhibit E attached hereto, a copy of the Amended Complaint

filed in Keith Allen Schallenkamp4 v. Steven Sorenson, Tina Sorenson and Shirley Schallenkamp,

Court File No. 72-DF-17-145.

     23. At all times relevant prior to, and including, the date of the filing of the Minnesota lawsuit,

Schallenkamp had full knowledge of the Debtors’ no-asset Chapter 7 bankruptcy and Discharge

of the subject loan and assisted his attorney, Paulson, in the preparation of the Minnesota lawsuit

which specifically referenced the bankruptcy.

     24. On the date of the filing of the Minnesota lawsuit, Paulson had full knowledge of the

Debtors’ no-asset Chapter 7 bankruptcy and Discharge of the subject loan and with the assistance

of Schallenkamp, in preparing and filing the lawsuit, specifically referenced the bankruptcy.

     25. On or about March 13, 2018, the Minnesota lawsuit was dismissed for lack of jurisdiction.

On or about April 10, 2018, the Court entered a Judgment in favor of Debtors in the principal



3
  Schallenkamp and Paulson alleged a Breach of Contract by Debtors, claiming damages of
$71,304.00. This amount was calculated as $75,104.00 received by Debtors, less $3,800.00 repaid.
This amount included the $72,084.00 prepetition loan which was discharged.
4
  Keith “Allen” Schallenkamp, Plaintiff named throughout the Minnesota lawsuit and Keith
“Anthony” Schallenkamp, Plaintiff named throughout the South Dakota lawsuit are one and the
same person. Schallenkamp’s correct name is Keith Anthony Schallenkamp.


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amount of $1,060.00 for additional legal fees and costs incurred by Debtors as a result of a late

filing of a changed document by Schallenkamp.

     26. Nevertheless, Schallenkamp again ignored the Debtors’ Discharge and on July 29, 2018,

Schallenkamp, by and through his attorney, Robin M. Eich, Eich Law Office, Prof. LLC, filed a

civil lawsuit in Circuit Court, First Judicial Circuit, County of McCook, State of South Dakota

seeking a judgment for damages against Debtors in in the amount of $71,304.005, plus interest, a

judgment for fraud against Debtors in amount to be determined at trial, and attorney fees and costs

(the “South Dakota lawsuit”). Schallenkamp is specifically seeking to collect the $72,084.00

prepetition loan. See Exhibit F attached hereto, a true and correct copy of the Verified Complaint

filed in Keith Anthony Schallenkamp v. Steven Sorenson, Tina Sorenson and Shirley Schallenkamp,

Court File No. 44CIV18-000056.

     27. The South Dakota lawsuit mirrors the Minnesota lawsuit filed by Schallenkamp against

Debtors and dismissed only a few months prior to Schallenkamp’s filing of the South Dakota

lawsuit.

     28. In or about December 2018, Debtors met with attorney Christina Banyon, CKB Lawyers,

regarding Schallenkamp’s lawsuits attempting to collect a debt that was discharged in the Debtors’

Chapter 13.

     29. On December 13, 2018, Ms. Banyon sent a Notice Pursuant to Section 362 of the United

States Bankruptcy Code of Automatic Stay Protection and/or Past Filing of Bankruptcy to Robin

Eich, along with a copies of the Debtors’ 341 notice and discharge order.

     30. Despite Ms. Banyon’s efforts, Schallenkamp and Eich proceeded with the South Dakota

lawsuit.


5
  Schallenkamp and Eich calculated the amount of $71,304.00, as follows: $72,084.00 prepetition
loan plus $3,020.00 post-petition loan, less $3,800.00 paid by Debtors.
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   31. At all times relevant prior to and including the date of the filing of the South Dakota

lawsuit, Schallenkamp had full knowledge of the Debtors’ no-asset Chapter 7 bankruptcy and

Discharge of the subject loan and assisted his attorney, Eich, in the preparation of the South Dakota

lawsuit which specifically referenced the bankruptcy.

   32. On the date of the filing of the South Dakota lawsuit, Eich had full knowledge of the

Debtors’ no-asset Chapter 7 bankruptcy and Discharge of the subject loan and with the assistance

of Schallenkamp, in preparing and filing the lawsuit, brought the lawsuit against Debtors on the

discharged subject loan.

   33. With full knowledge of the Debtors’ Chapter 7 discharge, including the discharge of the

subject loan, Schallenkamp and Eich continue to actively pursue collection from the Debtors of

the discharged subject loan through the South Dakota lawsuit.

   34. Notwithstanding Debtors’ Discharge, Debtors have received numerous emails, text

messages and attempted harassing phone calls from Schallenkamp. Schallenkamp has even sent

text messages to the Debtors’ minor daughter’s cell phone.

   35. Debtors have been required to retain counsel to defend them in the Minnesota and South

Dakota lawsuits filed by Schallenkamp and his attorneys, Paulson and Eich, respectively.

   42. Concerned about the violations of their rights and invasion of their privacy, Debtors sought

the assistance of counsel, Christina Banyon, to cease the collection efforts of Schallenkamp,

Paulson and Eich.

   43. When her efforts failed, Ms. Banyon referred the Debtors to the undersigned counsel for

assistance to cease the collection efforts of Schallenkamp, Paulson, and Eich.




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                                          LEGAL STANDARD

   44. The principal purpose of the Bankruptcy Code is to grant a ‘fresh start’ to the ‘honest but

unfortunate debtor.’” Marrama v. Citizens Bank of Mass., 549 U.S. 365, 367, 127 S.Ct. 1105,

1107, 166 L.Ed.2d 956 (2007).

   45. Pursuant to 11 U.S.C. §524(a)(2), a discharge order “operates as an injunction” against

acts to collect discharged debts. 11 U.S.C. §524(a)(2).

   46. A bankruptcy court has not only the inherent authority to enforce its orders, but also the

statutory authority, under 11 U.S.C. §105(a), to issue any order, process, or judgment that is

necessary or appropriate to carry out the provisions of the Bankruptcy Code. This authority

includes the issuance of sanctions as necessary and encompasses both the court’s authority to

enforce orders and, also, necessarily includes orders imposing sanctions for violating the discharge

injunction. In re Adams, 2010 Bankr. LEXIS 22017, *11 (Bankr. E.D. N.C. 2010).

   47. “The automatic stay and discharge injunction are cornerstones of bankruptcy law. They

are, respectively, a fundamental debtor protection and a fundamental debtor objective. The

automatic stay assists debtors in regaining their financial footing by allowing them to do so free

from collection efforts. And, having successfully completed the bankruptcy process, discharge

provides debtors with a new opportunity in life and a clear field for future effort, unhampered by

the pressure and discouragement of pre-existing debt. But the automatic stay and discharge

injunction must be enforced to provide any meaningful protection or incentive.” In re Curtis, 322

B.R. 470, 483 (Bankr. D. Mass. 2005).

   48. Section 524(a)(2) enjoins an act to collect a discharged debt, so a creditor that attempts to

collect a discharged debt is in contempt of the bankruptcy court that issued the order of discharge.”

Cox v. Zale Delaware, Inc., 239 F.3d 910, 915 (7th Cir. 2001).



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   49. “If the court finds that the creditor received notice of the discharge in bankruptcy, then the

debtor will have to prove only that the creditor intended the actions which violated the injunction.”

Faust v. Texaco Ref. and Mktg, Inc., 270 B.R. 310, 315 (Bankr. M.D. Ga. 1998).

   50. In determining if punitive damages are appropriate, the court has looked to (1) the nature

of the creditor’s conduct; (2) the creditor’s ability to pay damages; (3) the motive of the creditor;

(4) any provocation by the debtor; as well as (5) the creditor’s sophistication and knowledge of

bankruptcy law and procedure. In re Sumpter, 171 B.R. 835, 845 (Bankr. N.D. Ill.1994).

   51. Punitive damages are awarded in response to particularly egregious conduct for both

punitive and deterrent purposes. Such awards are reserved for cases in which the defendant’s

conduct amounts to something more than a bare violation justifying compensatory damages or

injunctive relief. To recover punitive damages, the defendant must have acted with actual

knowledge that he was violating the federally protected right or with reckless disregard of whether

he was doing so. In re Wagner, 74 B.R. 898, 903-904 (Bankr. E.D. Pa. 1987).

   52. Punitive damages are especially appropriate when a party has acted in “arrogant defiance”

of the Bankruptcy Code. In re Medlin, 201 B.R. 188, 194 (Bankr. E.D. Tenn. 1996).

   53. “For violations of the discharge injunction, courts have awarded punitive damages ‘where

there exists a complete and utter disrespect for the bankruptcy laws.’” In re Phillips, 2012 Bankr.

LEXIS, *10 (Bankr. N.D. Ohio 2012).

   54. “In assessing punitive damages it has been reasoned that ‘sophisticated commercial

enterprises have a clear obligation to adjust their programming and procedures and their instruction

to employees to handle complex matters correctly’.” In re Wallace, 2011 Bankr. LEXIS 1168, *23

(Bankr. M.D. Fla. 2011).

   55. “Additionally, the Court may impose monetary sanctions as a coercive measure to ensure

the creditor’s future compliance with the discharge injunction. Sanctions to coerce a creditor to

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cease violating the discharge injunction are an appropriate use of contempt sanctions.” In re

McLean, 2013 WL 5963358 at *4 (Bankr. M.D. Ala. 2013).

                                               ARGUMENT

   56. Debtors were granted a discharge on July 31, 2012, thus extinguishing any personal

liability on the subject loan and precluding any collection attempts on the subject loan.

   57. All of the demands for payment on the subject loan by Schallenkamp, Paulson, and Eich

occurred after Debtors were granted a discharge of the subject loan.

   58. Schallenkamp was given notice of Debtors’ discharge on numerous occasions from the

BNC, the Debtors themselves during phone conversations with Schallenkamp, and throughout the

Minnesota and South Dakota lawsuits.

   59. Paulson had notice and knowledge of Debtors’ discharge from Schallenkamp himself, from

Paulson’s access to PACER, and throughout the Minnesota lawsuit.

   60. Eich had notice and knowledge of Debtors’ discharge from Schallenkamp himself, from

Eich’s access to PACER, and throughout the South Dakota lawsuit.

   61. Despite having notice and actual knowledge of the discharge, Schallenkamp failed to cease

collection efforts on the subject loan as demonstrated by his (a) numerous emails, (b) text

messages, (c) attempted harassing phone calls to Debtors, (d) text messages to the Debtors’ minor

daughter’s cell phone, (e) the filing and prosecution of the Minnesota lawsuit, and (d) the filing

and continued active prosecution of the pending South Dakota lawsuit.

   62. Despite having notice and actual knowledge of the discharge, Paulson failed to cease

collection efforts on the subject loan as demonstrated by Paulson’s preparation, filing, and active

prosecution of the Minnesota collection lawsuit by Schallenkamp against the Debtors.




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   63. Despite having notice and actual knowledge of the discharge, Eich failed to cease

collection efforts on the subject loan as demonstrated by Eich’s preparation, filing, and active and

current prosecution of the South Dakota collection lawsuit by Schallenkamp against the Debtors.

   64. Moreover, the Minnesota and South Dakota lawsuits against Debtors clearly demonstrate

that Schallenkamp, Paulson, and Eich were attempting to collect a discharged debt from Debtors.

See Exhibits E and F.

   65. Schallenkamp’s collection efforts on the subject loan were willful, continue to be willful,

and are in brazen violation of the discharge injunction.

   66. Paulson’s collection efforts on the subject loan were willful and are in brazen violation of

the discharge injunction.

   67. Eich’s collections efforts on the subject loan are willful, continue to be willful, and are in

brazen violation of the discharge injunction.

   68. Schallenkamp received notice of the Debtors’ Discharge. The Discharge Order clearly

stated that “a creditor is not permitted to contact a debtor by mail, phone, or otherwise.…to collect

a discharged debt from the debtor” and Schallenkamp had the knowledge to prevent willful

violations of the discharge injunction. However, Schallenkamp’s egregious conduct, at Debtors’

expense, establishes otherwise.

   69. Paulson Law Firm PLLC, founded by Jon E. Paulson in January 2012, is a “full service

law firm, with emphasis in employment law, real estate business, bankruptcy....” Jon E. Paulson

has been a practicing attorney for more than ten years. Paulson had the knowledge to prevent

willful violations of the discharge injunction such as the filing of the Minnesota lawsuit on behalf

of Schallenkamp. However, Paulson’s egregious conduct Schallenkamp, at Debtors’ expense,

establishes otherwise.



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     70. Eich Law Office, Prof. LLC’s areas of practice include business, family, assets and rights.6

Robin M. Eich has been a practicing attorney for more than ten years. Eich had the knowledge to

prevent willful violations of the discharge injunction such as the filing, and current and active

preparation of the South Dakota lawsuit on behalf of Schallenkamp. However, Eich’s egregious

conduct, at Debtors’ expense, establishes otherwise.

     71. Schallenkamp’s actions in attempting to collect the uncollectable and discharged debt are

deliberate, unlawful, and egregious in nature as demonstrated by the frequency and regularity of

his willful violations of the discharge order.

     72. Paulson’s and Eich’s actions in attempting to collect the uncollectable and discharged debt

are deliberate, unlawful, and egregious in nature as demonstrated by the filing and prosecution of

the collection lawsuits against the Debtors in Minnesota and South Dakota, respectively.

     73. Schallenkamp has failed to cease collection efforts as mandated by the discharge injunction

despite receiving notice of Debtors’ bankruptcy on numerous occasions; leaving the Debtors no

alternative other than to seek judicial enforcement of the discharge injunction.

     74. With knowledge of the Debtors’ discharge, Paulson failed to cease collection efforts as

mandated by the discharge injunction by pursuing collection through the Minnesota lawsuit filed

June 16, 2017, and litigated through the dismissal and entry of judgment on April 10, 2018 in favor

of Debtors for additional legal fees of $1,060.00. Schallenkamp is a resident of Minnesota and to

prevent Paulson from filing yet another lawsuit on behalf of Schallenkamp against Debtors for the

collection of the subject loan, Debtors have no alternative other than to seek judicial enforcement

of the discharge injunction.




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    www.eichlawoffice.com/areas-practice. Last visited 05/26/2019 at 1:07 p.m.
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   75. With knowledge of the Debtors’ discharge, Eich has failed to cease collection efforts, as

mandated by the discharge injunction, by pursuing collection of the subject debt through the South

Dakota lawsuit filed June 29, 2018, and continuing a course of aggressive litigation to date. Such

conduct leaves the Debtors no alternative other than to seek judicial enforcement of the discharge

injunction.

   76. Schallenkamp’s repeated violations of the discharge injunction in disregard of the

Bankruptcy Code demonstrates egregious behavior in arrogant defiance of the Bankruptcy Code

and its mandates.

   77. Paulson’s and Eich’s willful and deliberate violations of the discharge injunction in

disregard of the Bankruptcy Code demonstrates egregious behavior in arrogant defiance of the

Bankruptcy Code and its mandates.

   78. In order for the discharge injunction to be meaningful, it must be enforced by this

Honorable Court, or else it becomes optional and frustrates Congress’ goal in providing a “fresh

start” to unfortunate debtors.

                                           DAMAGES

   79. Debtors have suffered and continue to suffer emotional distress, mental anguish, and

anxiety as a direct result of the unlawful collection practices of Schallenkamp and his attorneys,

Paulson, and Eich.

   80. Schallenkamp’s numerous emails, text messages, attempted harassing phone calls, and text

messages to Debtors’ minor daughter’s cell phone have severely disrupted Debtors’ daily lives.

   81. Schallenkamp’s filing of two identical collection lawsuits in Minnesota and South Dakota

has severely disrupted Debtors’ daily lives since June 2017.




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   82. Debtors have been unduly inconvenienced and harassed by Schallenkamp’s unlawful

attempts to collect a discharged debt for over five years, including attempts to collect the

discharged debt through state court litigation for almost two years.

   83. Debtors have been unduly inconvenienced by requiring Debtors to expend numerous hours

in meetings and communications with their Minnesota and South Dakota attorneys in defending

the Minnesota and South Dakota lawsuits.

   84. Debtors have been unduly inconvenienced and harassed by Paulson’s and Eich’s unlawful

attempts to collect a discharged debt through the filings and prosecution of the Minnesota and

South Dakota lawsuits, respectively.

   85. Debtors have been required to retain local counsel to defend Debtors in the Minnesota and

South Dakota lawsuits filed by Schallenkamp and his attorneys, Paulson and Eich, respectively,

and as a result, Debtors have incurred legal fees and costs.

   86. Debtors also incurred costs associated with their meeting with Christina Banyon, CKB

Lawyers, and the December 13, 2018 notice sent to Robin Eich.

   87. Debtors have been required to seek the assistance of the undersigned counsel to cease the

collection efforts of Schallenkamp, Paulson and Eich.

   88. To protect its authority, and to give Debtors the relief that Congress contemplated, this

Honorable Court should act promptly and firmly to stop conduct that violates 11 U.S.C. §524 as

to not render the discharge injunction obsolete or optional.

   89. In order to protect the spirit of the discharge order as contemplated by Congress, this Court

must impose civil contempt sanctions against Schallenkamp and his attorneys, Paulson and Eich,

for their brazen disregard of this Court’s orders, including actual damages, punitive damages,

costs, and fees.



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       WHEREFORE, Steven Lee Sorensen and Tina L. Sorensen, having set forth their claims
for relief against Keith A. Schallenkamp, Paulson Law Firm PLLC and Eich Law Office, Prof.
LLC, respectfully pray of the Court as follows:

   a. That this Honorable Court enter an order enjoining Schallenkamp, Paulson, and Eich from
       attempting to collect upon the subject loan from Debtors;
   b. That this Honorable Court enter an order directing Schallenkamp, Paulson, and Eich to pay
       Debtors’ actual damages resulting from the Minnesota and South Dakota lawsuits filed in
       violation of 11 U.S.C. §524;
   c. That this Honorable Court enter an order directing Schallenkamp, Paulson and Eich to pay
       to Debtors a sum determined by the Court for punitive damages for violations of 11 U.S.C.
       §524;
   d. That this Honorable Court enter an order directing Schallenkamp, Paulson and Eich to pay
       a sum determined by the Court to Debtors for all reasonable legal fees and expenses
       incurred by Debtors’ undersigned attorneys for violations of 11 U.S.C. §524; and
   e. That Debtors be provided such other and further relief as the Court may deem just and
       proper.

Dated: May 31, 2019                         /s/ Majdi Y. Hijazin

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                                            Tina L. Sorensen




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